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 4
     Attorney for Defendant
 5   EMMANUEL RUVALCABA
 6
                                 UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
                                                    )
10   UNITED STATES OF AMERICA,                      ) CASE NO. 1:11-cr-00203-LJO
                Plaintiff,                          )
11
          vs.                                       )
12                                                  ) STIPULATION ORDER TO CONTINUE
     EMMANUEL RUVALCABA,                            ) SENTENCING DATE
13            Defendant.                            )
                                                    )
14
                                                    )
15                                                  )

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17          IT IS HEREBY STIPULATED by and between Assistant United States Yasin

18   Mohammad, Counsel for Plaintiff and Attorney Preciliano Martinez, Counsel for Defendant
19
     Emmanuel Ruvalcaba, that the sentencing date scheduled for January 17, 2012, at 1:00 p.m. be
20
     vacated and the sentencing date be continued to this court’s calendar on February 6, 2012 at 1:00
21
     p.m. Mr. Martinez is currently in a murder trial in Santa Clara County that began on December 5,
22

23   2011,for defendant Domingo Aviles, Case No.9162660, Department 26, Judge Bonini. Mr.
24   Martinez is currently in the cross-examination process and hopes the case is in deliberations by
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     the end of the week. Due to this out of county trial, further time is needed for the defense to
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     prepare for the defendant’s sentencing date.
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                              The court is advised that counsel have conferred about this request that they have agreed
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 2   to the court date of February 6, 2012 and that Mr. Mohammed has authorized Preciliano

 3   Martinez to sign this stipulation on their behalf.
 4

 5
                              The parties agree and stipulate that time should be excluded under the Speedy Trial Act
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 7
     pursuant to Local Code T4 for sentencing, up to and including February 6, 2012.

 8                                                                               Respectfully Submitted,
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10
     Dated: December 14, 2011                                                    /s/ Preciliano Martinez
                                                                                 Preciliano Martinez
11                                                                               Attorney for Defendant
                                                                                 Emmanuel Ruvalcaba
12

13   Dated: December 14, 2011                                                    /s/ Yasin Mohammed
                                                                                 Yasin Mohammed
14                                                                               Assistant U.S. Attorney
15

16                                                                 ORDER

17                            Having read and considered the foregoing stipulation, the current January 17, 2012
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     sentencing date is hereby vacated and reset to February 6, 2012.
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     IT IS SO ORDERED.
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                           Dated:   December 15, 2011                         /s/ Lawrence J. O’Neill
26
     DEAC_Signature-END:
                                                                          UNITED STATES DISTRICT JUDGE
27
     b9ed48bb
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